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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- x
ROBERTO MATA,                                                    :
                                                                 :   Civil Action No. 22-cv-1461
                                    Plaintiff,                   :
                                                                 :
         vs.                                                     :   ANSWER OF AVIANCA, INC.
                                                                 :
AVIANCA, INC.,                                                   :
                                                                 :
                                    Defendant.                   :
                                                                 :
                                                                 :
---------------------------------------------------------------- x

         Defendant AVIANCA, INC. (hereinafter “Avianca”), by and through its attorneys, Condon

& Forsyth LLP, as and for its Answer to Plaintiff’s Verified Complaint (“the Complaint”),

respectfully alleges as follows:

         1.       Denies knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 1 of the Complaint.

         2.       Denies the allegations in Paragraph 2 of the Complaint, except admits that Avianca

is a foreign corporation that does business in the State of New York.

         3.       Denies the allegations in Paragraph 3 of the Complaint, except admits that Avianca

operated Avianca flight AV 670 from El Salvador to John F. Kennedy International Airport on

August 27, 2019.

         4.       Denies the allegations in Paragraph 4 of the Complaint, except admits that Avianca

operated Avianca flight AV 670 from El Salvador to John F. Kennedy International Airport on

August 27, 2019.

         5.       Denies the allegations in Paragraph 5 of the Complaint, except admits that Avianca

operated Avianca flight AV 670 from El Salvador to John F. Kennedy International Airport on

August 27, 2019.
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       6.      Denies the allegations in Paragraph 6 of the Complaint, except admits that Avianca

operated Avianca flight AV 670 from El Salvador to John F. Kennedy International Airport on

August 27, 2019.

       7.      Denies the allegations in Paragraph 7 of the Complaint, except admits that Avianca

operated Avianca flight AV 670 from El Salvador to John F. Kennedy International Airport on

August 27, 2019.

       8.      Denies the allegations in Paragraph 8 of the Complaint, except admits that Avianca

operated Avianca flight AV 670 from El Salvador to John F. Kennedy International Airport on

August 27, 2019.

       9.      Denies the allegations in Paragraph 9 of the Complaint, except admits that Avianca

operated Avianca flight AV 670 from El Salvador to John F. Kennedy International Airport on

August 27, 2019.

       10.     Denies the allegations in Paragraph 10 of the Complaint, except admits that Avianca

operated Avianca flight AV 670 from El Salvador to John F. Kennedy International Airport on

August 27, 2019.

       11.     Admits that a Roberto Mata was listed as a passenger on Avianca flight 670 on

August 27, 2019.

       12.     Denies the allegations in Paragraph 12 of the Complaint.

       13.     Denies the allegations in Paragraph 13 of the Complaint.

       14.     Denies the allegations in Paragraph 14 of the Complaint.

       15.     Denies the allegations in Paragraph 15 of the Complaint.

       16.     Denies the allegations in Paragraph 16 of the Complaint.




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                     AS AND FOR A FIRST AFFIRMATIVE DEFENSE

       17.     Pursuant to 11 U.S.C. § 524, Plaintiff’s claims against Avianca were discharged

by the United States Bankruptcy Court for the Southern District of New York (Case No. 20-

11133 (M.G.)) in the Order (I) Confirming Further Modified Joint Chapter 11 Plan of Avianca

Holdings S.A. and its Affiliated Debtors and (II) Granting Related Relief.          [Dkt. 2300].

Accordingly, this action violates the injunction against commencement or continuation of an

action to collect, recover, or offset a discharged debt, and must be dismissed.

                   AS AND FOR A SECOND AFFIRMATIVE DEFENSE

       18.     Upon information and belief, the transportation out of which the subject matter of

this action arose was “international carriage” within the meaning of the Convention for the

Unification of Certain Rules for International Carriage by Air, Done at Montreal on 28 May

1999 (“Montreal Convention”), reprinted in S. Treaty Doc. 106-45, CCH Av. L. Rep. ¶ 27,400-

59, 1999 WL 33292734, and the rights of the parties to this litigation are governed by the

provisions of the Montreal Convention.

       19.     Pursuant to Article 35 of the Montreal Convention, Plaintiff’s claims are barred

because this action was commenced more than two years after Plaintiff arrived at his destination.

According, Plaintiff cannot sustain a claim under the Montreal Convention.

                    AS AND FOR A THIRD AFFIRMATIVE DEFENSE

       20.     Pursuant to Article 17 of the Montreal Convention, Avianca is not liable to

Plaintiff because Plaintiff’s alleged injuries were not caused by an “accident.”

                   AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

       21.    All or part of the damages allegedly sustained by Plaintiff were caused in whole or

in part by the negligence or other wrongful act or omission of Plaintiff. Accordingly, Plaintiffs




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damages, if any, should be diminished in accordance with the degree of culpability and fault

attributed to Plaintiff, in accordance with Article 20 of the Montreal Convention.

                      AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

        22.     All or part of the damages allegedly sustained by Plaintiff were caused in whole

by the negligence or other wrongful act or omission of a third party. Accordingly, the liability of

Avianca, if any, is limited in accordance with the provisions of Article 21 of the Montreal

Convention.

                      AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

        23.     Pursuant to Article 29 of the Montreal Convention, to the extent the Original

Complaint contains state law causes of action, such causes of action are preempted by the

Montreal Convention.

                    AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

        24.     Pursuant to Avianca’s tariff on file with the United States Department of

Transportation, as well as the conditions of carriage set forth in the relevant contract of

transportation, Avianca is not liable to Plaintiff, or, in the alternative, its liability is limited.

                    AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

        25.     The action should be dismissed pursuant to the doctrine of forum non conveniens

and/or improper venue.

        26.     Avianca reserves the right to assert any and all additional defenses as may be

revealed by further investigation and discovery.

                      NOTICE OF APPLICABILITY OF FOREIGN LAW

        Pursuant to Rule 44.1 of the Federal Rules of Civil Procedure, Defendant Avianca hereby

gives notice that it intends to raise issues concerning the law of a foreign country in this matter.




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       WHEREFORE, Defendant AVIANCA, INC., demands judgment dismissing the Complaint

for Damages in its entirety, or alternatively, judgment limiting Avianca’s liability pursuant to the

foregoing, together with all other relief which may be just and proper.

Dated: February 22, 2022
       New York, New York

                                                 CONDON & FORSYTH LLP


                                                 By /s/ Bartholomew J. Banino
                                                   Bartholomew J. Banino (BB 4164)
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                                                  AVIANCA, INC.




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                                 AFFIDAVIT OF SERVICE


STATE OF NEW YORK  )
                   ) ss:
COUNTY OF NEW YORK )

       Beatriz Romero, being duly sworn, deposes and says that deponent is not a party to the

action, is over 18 years of age and resides in Monroe, New York. That on the 22 nd day of

February 2022 deponent served the within Answer upon:

        Steven Schwartz, Esq.
        LEVIDOW, LEVIDOW & OBERMAN, P.C.
        299 Broadway-Suite 1800
        New York, New York 10007

at the address designated by said attorneys for that purpose by depositing same enclosed in a

postpaid properly addressed wrapper, in an official depository under the exclusive care and

custody of the United States Postal Service within the State of New York.


                                                           _____________________________
                                                                 Beatriz Romero

Sworn to before me this
22nd day of February 2022


_______________________
Notary Public




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